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                                                                                              2020
                                                                     UNITED STATES
                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                WASHINGTON, D.C. 20549

                                                                 FORM 10-K
                                            IZI ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF
                                                    THE SECURITIES EXCHANGE ACT OF 1934
                                                                           For the fiscal year ended December 31, 2020
                                                                                                or

                                       ❑ TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF
                                               THE SECURITIES EXCHANGE ACT OF 1934
                                                                        For the transition period from          to
                                                                                Commission File Number 1-2256

                                                              Exxon Mobil Corporation
                                                                       (Exact name of registrant as specified in its charter)

                    New Jersey                                                                                                                   XX-XXXXXXX
              (State or other jurisdiction of                                                                                                   (I.R.S. Employer
             incorporation or organization)                                                                                                  Identification Number)

                                                             5959 Las Colinas Boulevard, Irving, Texas 75039-2298
                                                                       (Address of principal executive offices) (Zip Code)
                                                                                       (972) 940-6000
                                                                       (Registrant's telephone number, including area code)

                                                             Securities registered pursuant to Section 12(b) of the Act:
  Title of Each Class                                                               Trading Symbol                                             Name of Each Exchange on Which Registered
  Common Stock, without par value                                                       XOM                                                                      New York Stock Exchange
  0.142% Notes due 2024                                                                XOM24B                                                                    New York Stock Exchange
  0.524% Notes due 2028                                                                XOM28                                                                     New York Stock Exchange
  0.835% Notes due 2032                                                                XOM32                                                                     New York Stock Exchange
  1.408% Notes due 2039                                                                XOM39A                                                                    New York Stock Exchange

  Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes 2   No ❑
  Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ❑ No
  Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12 months (or
  for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes D No ❑
  Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§
  232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit and post such files). Yes C1 No ❑
  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging growth company. See the
  definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2 of the Exchange Act.

  Large accelerated filer                                      p                   Accelerated filer                                                                            ❑
  Non-accelerated filer                                        ❑                   Smaller reporting company                                                                    ❑
                                                                                   Emerging growth company                                                                      ❑
  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised fmancial accounting
  standards provided pursuant to Section 13(a) of the Exchange Act. ❑
  Indicate by check mark whether the registrant has filed a report on and attestation to its management's assessment of the effectiveness of its internal control over financial reporting under
  Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit report.
  Indicate by check mark whether the registrant is a shell company (as defined by Rule 12b-2 of the Act). Yes ❑ No El
  The aggregate market value of the voting stock held by non-affiliates of the registrant on June 30, 2020, the last business day of the registrant's most recently completed second fiscal
  quarter, based on the closing price on that date of $44.72 on the New York Stock Exchange composite tape, was in excess of $189 billion.

                              Class                                                                                                      Outstanding as of January 31, 2021
              Common stock, without par value                                                                                                      4,233,483,160
                                      Documents Incorporated by Reference: Proxy Statement for the 2021 Annual Meeting of Shareholders (Part III)




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                                                       EXXON MOBIL CORPORATION
                                                                FORM 10-K
                                               FOR THE FISCAL YEAR ENDED DECEMBER 31, 2020

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                                                                         PART I

  ITEM 1. BUSINESS
  Exxon Mobil Corporation was incorporated in the State of New Jersey in 1882. Divisions and affiliated companies of ExxonMobil operate or market
  products in the United States and most other countries of the world. Their principal business involves exploration for, and production of, crude oil and
  natural gas and manufacture, trade, transport and sale of crude oil, natural gas, petroleum products, petrochemicals and a wide variety of specialty
  products. Affiliates of ExxonMobil conduct extensive research programs in support of these businesses.
  Exxon Mobil Corporation has several divisions and hundreds of affiliates, many with names that include ExxonMobil, Exxon, Esso, Mobil or XTO. For
  convenience and simplicity, in this report the terms ExxonMobil, Exxon, Esso, Mobil and XTO, as well as terms like Corporation, Company, our, we
  and its, are sometimes used as abbreviated references to specific affiliates or groups of affiliates. The precise meaning depends on the context in
  question.
  The energy and petrochemical industries are highly competitive, both within the industries and also with other industries in supplying the energy, fuel
  and chemical needs of industrial and individual consumers. The Corporation competes with other firms in the sale or purchase of needed goods and
  services in many national and international markets and employs all methods of competition which are lawful and appropriate for such purposes.
  Operating data and industry segment information for the Corporation are contained in the Financial Section of this report under the following: "Note
  18: Disclosures about Segments and Related Information" and "Operating Information". Information on oil and gas reserves is contained in the "Oil
  and Gas Reserves" part of the "Supplemental Information on Oil and Gas Exploration and Production Activities" portion of the Financial Section of
  this report.
  ExxonMobil has a long-standing commitment to the development of proprietary technology. We have a wide array of research programs designed to
  meet the needs identified in each of our business segments. ExxonMobil held nearly 9 thousand active patents worldwide at the end of 2020. For
  technology licensed to third parties, revenues totaled approximately $130 million in 2020. Although technology is an important contributor to the
  overall operations and results of our Company, the profitability of each business segment is not dependent on any individual patent, trade secret,
  trademark, license, franchise or concession.
  ExxonMobil operates in a highly complex, competitive and changing global energy business environment where decisions and risks play out over time
  horizons that are often decades in length. This long-term orientation underpins the Corporation's philosophy on talent development.
  Talent development begins with recruiting exceptional candidates and continues with individually planned experiences and training designed to
  facilitate broad development and a deep understanding of our business across the business cycle. Our career-oriented approach to talent development
  results in strong retention and an average length of service of 30 years for our career employees. Compensation, benefits and workplace programs
  support the Corporation's talent management approach, and are designed to attract and retain employees for a career through compensation that is
  market competitive, long-term oriented, and highly differentiated by individual performance.
  Sixty percent of our global employee workforce is from outside the U.S., and over the past decade 39 percent of our global hires for management,
  professional and technical positions were female and 31 percent of our U.S. hires for management, professional and technical positions were
  minorities. With over 160 nationalities represented in the Company, we encourage and respect diversity of thought, ideas and perspective from our
  workforce. We consider and monitor diversity through all stages of employment, including recruitment, training and development of our employees.
  We also work closely with the communities where we operate to identify and invest in initiatives that help support local needs, including local talent
  and skill development.
  The number of regular employees was 72 thousand, 75 thousand, and 71 thousand at years ended 2020, 2019, and 2018, respectively. Regular
  employees are defined as active executive, management, professional, technical and wage employees who work full time or part time for the
  Corporation and are covered by the Corporation's benefit plans and programs.
  As discussed in item 1A. Risk Factors in this report, compliance with existing and potential future government regulations, including taxes,
  environmental regulations, and other government regulations and policies that directly or indirectly affect the production and sale of our products, may
  have material effects on the capital expenditures, earnings, and competitive position of ExxonMobil. With respect to the environment, throughout
  ExxonMobil's businesses, new and ongoing measures are taken to prevent and minimize the impact of our operations on air, water and ground,
  including, but not limited to, compliance with environmental regulations. These include a significant investment in refining infrastructure and
  technology to manufacture clean fuels, as well as projects to monitor and reduce nitrogen oxide, sulfur oxide and greenhouse gas emissions, and
  expenditures for asset retirement obligations. Using definitions and guidelines established by the American Petroleum Institute, ExxonMobil's 2020
  worldwide environmental expenditures for all such preventative and remediation steps, including ExxonMobil's share of equity company expenditures,
  were $4.5 billion, of which $3.4 billion were included in expenses with the remainder in capital expenditures. The total cost for such activities is
  expected to increase to approximately $4.9 billion in 2021 and 2022. Capital expenditures are expected to account for approximately 25 percent of the
  total.


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  In the preceding reserves information, consolidated subsidiary and equity company reserves are reported separately. However, the Corporation
  operates its business with the same view of equity company reserves as it has for reserves from consolidated subsidiaries.

  The Corporation anticipates several projects will come online over the next few years providing additional production capacity. However, actual
  volumes will vary from year to year due to the timing of individual project start-ups; operational outages; reservoir performance; performance of
  enhanced oil recovery projects; regulatory changes; the impact of fiscal and commercial terms; asset sales; weather events; price effects on production
  sharing contracts; changes in the amount and timing of capital investments that may vary depending on the oil and gas price environment; and other
  factors described in Item 1A. Risk Factors.

  The estimation of proved reserves, which is based on the requirement of reasonable certainty, is an ongoing process based on rigorous technical
  evaluations, commercial and market assessments and detailed analysis of well and reservoir information such as flow rates and reservoir pressures.
  Furthermore, the Corporation only records proved reserves for projects which have received significant funding commitments by management toward
  the development of the reserves. Although the Corporation is reasonably certain that proved reserves will be produced, the timing and amount
  recovered can be affected by a number of factors including completion of development projects, reservoir performance, regulatory approvals,
  government policies, consumer preferences, and significant changes in crude oil and natural gas price levels. In addition, proved reserves could be
  affected by an extended period of low prices which could reduce the level of the Corporation's capital spending and also impact our partners' capacity
  to fund their share of joint projects.
  During the first and second quarters of 2020, the balance of supply and demand for petroleum and petrochemical products experienced two significant
  disruptive effects. On the demand side, the COVID-19 pandemic spread rapidly through most areas of the world resulting in substantial reductions in
  consumer and business activity and significantly reduced demand for crude oil, natural gas, and petroleum products. This reduction in demand
  coincided with announcements of increased production in certain key oil-producing countries which led to increases in inventory levels and sharp
  declines in prices for crude oil, natural gas, and petroleum products. Market conditions continued to reflect considerable uncertainty throughout 2020.

  As noted above, certain quantities of crude oil, bitumen, and natural gas that qualified as proved reserves in prior years did not qualify as proved
  reserves at year-end 2020. Amounts no longer qualifying as proved reserves include 3.1 billion barrels of bitumen at Kearl, 0.6 billion barrels of
  bitumen at Cold Lake, and 0.5 billion oil-equivalent barrels in the United States. The Corporation's near-term reduction in capital expenditures resulted
  in a net reduction to estimates of proved reserves of approximately 1.5 billion oil-equivalent barrels, mainly related to unconventional drilling in the
  United States. Among the factors that could result in portions of these amounts being recognized again as proved reserves at some point in the future
  are a recovery in the SEC price basis, cost reductions, operating efficiencies, and increases in planned capital spending.

  B. Technologies Used in Establishing Proved Reserves Additions in 2020
  Additions to ExxonMobil's proved reserves in 2020 were based on estimates generated through the integration of available and appropriate geological,
  engineering and production data, utilizing well-established technologies that have been demonstrated in the field to yield repeatable and consistent
  results.

  Data used in these integrated assessments included information obtained directly from the subsurface via wellbores, such as well logs, reservoir core
  samples, fluid samples, static and dynamic pressure information, production test data, and surveillance and performance information. The data utilized
  also included subsurface information obtained through indirect measurements including high-quality 3-D and 4-D seismic data, calibrated with
  available well control information. The tools used to interpret the data included proprietary seismic processing software, proprietary reservoir
  modeling and simulation software, and commercially available data analysis packages.

  In some circumstances, where appropriate analog reservoirs were available, reservoir parameters from these analogs were used to increase the quality
  of and confidence in the reserves estimates.




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  Information with regard to the Downstream segment follows:
  ExxonMobil's Downstream segment manufactures, trades and sells petroleum products. The refining and supply operations encompass a global
  network of manufacturing plants, transportation systems, and distribution centers that provide a range of fuels, lubricants and other products and
  feedstocks to our customers around the world.

                                                        Refining Capacity At Year-End 2020 (1)
                                                                                                                   ExxonMobil          ExxonMobil
                                                                                                                  Share KBD (2)         Interest %

  United States
       Joliet                                              Illinois                                                          254          100
       Baton Rouge                                         Louisiana                                                         520          100
       Billings                                            Montana                                                            60          100
       Baytown                                             Texas                                                             561          100
       Beaumont                                            Texas                                                             369          100
              Total United States                                                                                          1,764

  Canada
      Strathcona                                           Alberta                                                           196          69.6
      Nanticoke                                            Ontario                                                           113          69.6
      Sarnia                                               Ontario                                                           119          69.6
            Total Canada                                                                                                     428

  Europe
       Antwerp                                             Belgium                                                           307          100
       Fos-sur-Mer                                         France                                                            133          82.9
       Gravenchon                                          France                                                            244          82.9
       Karlsruhe                                           Germany                                                            78           25
       Trecate                                             Italy                                                             132          75.2
       Rotterdam                                           Netherlands                                                       192          100
       Slagen                                              Norway                                                            116          100
       Fawley                                              United Kingdom                                                    262          100
            Total Europe                                                                                                   1,464

  Asia Pacific
        Altona (3)                                         Australia                                                          88          100
        Fujian                                             China                                                              67          25
        Jurong/PAC                                         Singapore                                                         592          100
        Sriracha                                           Thailand                                                          167           66
              Total Asia Pacific                                                                                             914

  Middle East
       Yanbu                                               Saudi Arabia                                                      200           50

  Total Worldwide                                                                                                          4,770


  (1) Capacity data is based on 100 percent of rated refinery process unit stream-day capacities under normal operating conditions, less the impact of
      shutdowns for regular repair and maintenance activities, averaged over an extended period of time. The listing excludes refining capacity for a
      minor interest held through equity securities in New Zealand, and the Laffan Refinery in Qatar for which results are reported in the Upstream
      segment.
  (2) Thousands of barrels per day (KBD). ExxonMobil share reflects 100 percent of atmospheric distillation capacity in operations of ExxonMobil and
      majority-owned subsidiaries. For companies owned 50 percent or less, ExxonMobil share is the greater of ExxonMobil's interest or that portion of
      distillation capacity normally available to ExxonMobil.
  (3) The Corporation expects to convert the Altona refinery into a terminal in 2021.


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  FINANCIAL INFORMATION




                                                                                                                 2020               2019              2018
                                                                                                       (millions of dollars, except where stated otherwise)
  Sales and other operating revenue                                                                        178,574           255,583            279,332
  Earnings (Loss)
        Upstream                                                                                           (20,030)            14,442             14,079
        Downstream                                                                                          (1,077)             2,323              6,010
        Chemical                                                                                             1,963                592              3,351
        Corporate and financing                                                                             (3,296)            (3,017)            (2,600)
        Net income (loss) attributable to ExxonMobil                                                       (22,440)            14,340             20,840
  Earnings (Loss) per common share (dollars)                                                                 (5.25)              3.36               4.88
  Earnings (Loss) per common share — assuming dilution (dollars)                                             (5.25)              3.36               4.88

  Earnings (Loss) to average ExxonMobil share of equity (percent)                                             (12.9)                7.5              11.0

  Working capital                                                                                          (11,470)           (13,937)            (9,165)
  Ratio of current assets to current liabilities (times)                                                      0.80               0.78               0.84

  Additions to property, plant and equipment                                                                17,342            24,904             20,051
  Property, plant and equipment, less allowances                                                           227,553           253,018            247,101
  Total assets                                                                                             332,750           362,597            346,196

  Exploration expenses, including dry holes                                                                   1,285              1,269              1,466
  Research and development costs                                                                              1,016              1,214              1,116

  Long-term debt                                                                                            47,182             26,342             20,538
  Total debt                                                                                                67,640             46,920             37,796
  Debt to capital (percent)                                                                                   29.2               19.1               16.0
  Net debt to capital (percent) (1)                                                                           27.8               18.1               14.9

  ExxonMobil share of equity at year-end                                                                   157,150           191,650            191,794
  ExxonMobil share of equity per common share (dollars)                                                      37.12             45.26              45.27
  Weighted average number of common shares                                                                   4,271             4,270              4,270
  outstanding (millions)

  Number of regular employees at year-end (thousands) (2)                                                      72.0               74.9               71.0


  (1) Debt net of cash.
  (2) Regular employees are defined as active executive, management, professional, technical and wage employees who work full time or part time for
      the Corporation and are covered by the Corporation's benefit plans and programs.




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  MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS




  The global energy markets can give rise to extended periods in which market conditions are adverse to one or more of the Corporation's businesses.
  Such conditions, along with the capital-intensive nature of the industry and very long lead times associated with many of our projects, underscore the
  importance of maintaining a strong financial position. Management views the Corporation's financial strength as a competitive advantage.
  In general, segment results are not dependent on the ability to sell and/or purchase products to/from other segments. Instead, where such sales take
  place, they are the result of efficiencies and competitive advantages of integrated refinery/chemical complexes. Additionally, intersegment sales are at
  market-based prices. The products bought and sold between segments can also be acquired in worldwide markets that have substantial liquidity,
  capacity, and transportation capabilities. Refer to Note 18 for additional information on intersegment revenue.
  Although price levels of crude oil and natural gas may rise or fall significantly over the short to medium term due to global economic conditions,
  political events, decisions by OPEC and other major government resource owners and other factors, industry economics over the long term will
  continue to be driven by market supply and demand. Accordingly, the Corporation evaluates the viability of its major investments over a range of
  prices.
  The Corporation has an active asset management program in which underperforming assets are either improved to acceptable levels or considered for
  divestment. The asset management program includes a disciplined, regular review to ensure that assets are contributing to the Corporation's strategic
  objectives.
  Risk Management
  The Corporation's size, strong capital structure, geographic diversity and the complementary nature of the Upstream, Downstream and Chemical
  businesses reduce the Corporation's enterprise-wide risk from changes in commodity prices, currency rates and interest rates. In addition, the
  Corporation uses commodity-based contracts, including derivatives, to manage commodity price risk and for trading purposes. The Corporation's
  commodity derivatives are not accounted for under hedge accounting. At times, the Corporation also enters into currency and interest rate derivatives,
  none of which are material to the Corporation's fmancial position as of December 31, 2020 and 2019, or results of operations for the years ended 2020,
  2019 and 2018. Credit risk associated with the Corporation's derivative position is mitigated by several factors, including the use of derivative clearing
  exchanges and the quality of and financial limits placed on derivative counterparties. No material market or credit risks to the Corporation's financial
  position, results of operations or liquidity exist as a result of the derivatives described in Note 13. The Corporation maintains a system of controls that
  includes the authorization, reporting and monitoring of derivative activity.
  The Corporation is exposed to changes in interest rates, primarily on its short-term debt and the portion of long-term debt that carries floating interest
  rates. The impact of a 100-basis-point change in interest rates affecting the Corporation's debt would not be material to earnings or cash flow. The
  Corporation has access to significant capacity of long-term and short-term liquidity. Internally generated funds are generally expected to cover
  financial requirements, supplemented by long-term and short-term debt as required. Commercial paper is used to balance short-term liquidity
  requirements. Some joint-venture partners are dependent on the credit markets, and their funding ability may impact the development pace of joint-
  venture projects.
  The Corporation conducts business in many foreign currencies and is subject to exchange rate risk on cash flows related to sales, expenses, financing
  and investment transactions. Fluctuations in exchange rates are often offsetting and the impacts on ExxonMobil's geographically and functionally
  diverse operations are varied. The Corporation makes limited use of currency exchange contracts to mitigate the impact of changes in currency values,
  and exposures related to the Corporation's use of these contracts are not material.
  Inflation and Other Uncertainties
  The general rate of inflation in many major countries of operation has remained moderate over the past few years, and the associated impact on non-
  energy costs has generally been mitigated by cost reductions from efficiency and productivity improvements. Prices for services and materials
  continue to evolve in response to constant changes in commodity markets and industry activities, impacting operating and capital costs. However, the
  global COVID-19 pandemic since early 2020 has brought unprecedented uncertainties to near-term economic outlooks. The Corporation continues to
  monitor market trends and works to minimize costs in all commodity price environments through its economies of scale in global procurement and its
  efficient project management practices.

  RESTRUCTURING ACTIVITIES
  During 2020, ExxonMobil conducted an extensive global review of staffing levels and subsequently commenced targeted workforce reductions within
  a number of countries to improve efficiency and reduce costs. The programs, which are expected to be substantially complete by the end of 2021,
  include both voluntary and involuntary employee separations and reductions in contractors.
  In 2020 the Corporation recorded before-tax charges of $450 million ($349 million after tax), consisting primarily of employee separation costs,
  associated with announced workforce reduction programs in Europe, North America, and Australia. These costs are captured in "Selling, general and
  administrative expenses" on the Statement of Income and reported in the Corporate and financing segment. Before-tax cash outflows in 2020
  associated with these activities were $47 million. The Corporation estimates additional charges of up to $200 million in 2021 related to planned
  workforce reduction programs with cash outflows ranging between $400 million and $600 million. Before-tax workforce reduction savings, including
  employees and contractors, are estimated to range between $1 billion and $2 billion per year after program completion when compared to 2019 levels.


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